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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  ORALDENT LTD.,

  Plaintiff,                                                 Civil Action No.: 1:20-cv-00304

  v.

  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

  Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                  DEFENDANT
                101                                     Jackie-jia
                104                                    belang9239
                 30                            Odeum Electric Trade Ltd.
                 87                                     Hai_Tian
                138                                     HE's shop
                170                                     HengTao
                132                                      Lianda
                190                                     yangm89
                 50                                    HiTomJerry
                408                                    Parklondon
                400                                   Shanghai2008
                401                                   Shanghai2010
                410                                       Skoqi
                411                                     Niubility
                414                                       Kyne
                419                                   Guangzhou18
                421                                    Spinnertoys
                 76                  Science and technology in the hands of the world
                415                                   Glass_smoke
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DATED: May 8, 2020                          Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 8, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
